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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION AT CHICAGO


Tracy Cohen,                                      ) Case No. 1:24-cv-569
                                                  )
                              Plaintiff,          )
                                                  )
       v.                                         )
                                                  )
Kering, Gucci, Gucci America, Inc., and Gucci     ) Honorable Martha Pacold
North American Holdings, Inc.                     )
                                                  )
                              Defendants.         )
                                                  )


    DEFENDANT GUCCI AMERICA, INC.’S NOTIFICATION AS TO AFFILIATES

       Pursuant to Federal Rule of Civil Procedure 7.1(a)(1) and Local Rule 3.2, Defendant Gucci

America, Inc. states as follows:

       Gucci America, Inc. is a wholly owned subsidiary of Kering Americas, Inc., which is

wholly owned by Kering Holland NV, which is wholly owned by Kering SA, which is a French

publicly traded company.



 Dated: March 29, 2024



                                                By:    /s/ Rachel Cowen
                                                       By Its Attorneys

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                                    CERTIFICATE OF SERVICE

          I hereby certify that on March 29, 2024, I electronically filed the foregoing pleading with the

Clerk of the Court using the ECF system, which will send notification of the filing to all counsel of

record.



                                                         /s/ Rachel Cowen
                                                         Rachel Cowen




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